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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 PEGASYSTEMS INC.,

        Plaintiff,
                                                    Case No. 19-cv-11461-PBS-MPK
        v.

 APPIAN CORPORATION and BUSINESS
 PROCESS MANAGEMENT, INC.,

        Defendants.


                     STATEMENT OF UNDISPUTED MATERIAL FACTS
                      IN SUPPORT OF PEGASYSTEMS’ MOTION FOR
                               SUMMARY JUDGMENT

       Pursuant to Rule 56 of the Federal Rules of Civil Procedure and Local Rule 56.1, Plaintiff

and Counterclaim Defendant Pegasystems Inc. (“Pegasystems” or “Pega”) hereby submits the

following statement of undisputed material facts in support of its motion for summary judgment

against Defendants Appian Corporation (“Appian”) and Business Process Management, Inc.

(“BPM.com”), and with respect to Appian’s counterclaims.

                                   I.      BACKGROUND

       1.      Pegasystems is a publicly-held Massachusetts corporation with its principal place

of business in Cambridge, Massachusetts. See Dkt. 55 (First Amended Complaint) at ¶ 2, 11.

Pegasystems develops, markets, licenses and supports software applications. Pegasystems’

products include software for business process management (“BPM”), which allows businesses to

automate their processes and make those processes more efficient. Id. at ¶¶ 2, 11.

       2.      Appian is a publicly-held Delaware corporation headquartered in Tysons, Virginia.

Appian develops, markets, licenses and supports BPM software. See Dkt. 71 (Answer and

Counterclaims) at ¶ 8; Exhibit (“Ex.”) 1 (Expert Report of Richard M. Marshall) at ¶ 47.
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       3.     Pegasystems and Appian are direct competitors in the BPM space. See Dkt. 55 at

¶ 3; Dkt. 335 (Amended Answer/Counterclaim) at ¶ 3; Ex. 2 (Excerpts of Deposition Transcript

of Arturo Oliver, (Appian Senior Director of Product Strategy and Tech Partnerships), April 27,

2021) at 31:13-31:15; Ex. 3 (Deposition of Thomas Libretto, (Pegasystems Chief Marketing

Officer and Senior Vice President), April 21, 2021) at 30:09-30:25; Ex. 4 (Excerpts of Deposition

Transcript of Cathryn Siemer, (Formerly Appian Market Intelligence Analyst and Analyst

Relations Manager), May 21, 2021) at 45:20-45:25; Ex. 5 (Excerpts of Deposition Transcript of

Trenton Buff, (Appian Account Executive), December 14, 2021) at 30:22 - 31:02.

       4.     BPM.com is headquartered in Cohasset, Massachusetts. See Dkt. 74 at ¶ 4. It is a

leading market research company with expertise in the BPM space that, among other things, until

recently operated a website at www.bpm.com that has been the leading destination for research,

white papers and community forums on BPM and process automation for over a decade. See Ex.

6 at 2; Dkt. 74 at ¶ 4. BPM.com is led by                               Nathanial Palmer. Ex. 7

at




       5.     Selling BPM software is a process that can take Appian months.




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        6.




        7.



        8.      Purchasers of BPM software are sophisticated consumers with technical expertise.

See Dkt. 17 at 16 (“The Report’s audience – those who use BPM software – are sophisticated

business professionals with technical expertise.”); Dkt. 122 at 10.

        9.




        10.     A separate litigation between Appian and Pegasystems is pending in Virginia State

Court and is on trial at the time of this filing. In that case, Appian asserts, among other things, that

Pegasystems misappropriated its trade secrets by working with Youyoung Zou, a developer (not

an Appian employee) with experience working in Appian software, to learn about the Appian

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software platform. Appian Corporation vs. Pegasystems Inc. & Youyoung Zou, Case No. 2020-

07216 (Va. Cir. Ct.) (“the Virginia Litigation”). See Dkt. 550-1.

        11.    In the Virginia Litigation, Appian’s expert assessing unjust enrichment damages

from the alleged trade secret misappropriation has calculated roughly $480 million dollars in

Pegasystems’ profits from opportunities where it competed directly with Appian from 2013 to

2021, and $3 billion in Pegasystems’ profits generally from Q3 2013 through Q3 2021. Ex. 98

(Excerpt of Virginia Litigation Trial Transcript) at. 3247:11-3250:2; 3298:6-21; 3304:9-3305:3;

3325:15-3326:5. Those amounts encompass all Pegasystems’ profit Appian has put at issue in this

litigation.

                              II.     THE BPM.COM REPORT

        12.    On May 16, 2019, BPM.com published a document titled “Market Report: Analysis

of Process Automation Investments and Total Cost of Ownership (TCO) Appian, IBM, and Pega”

(the “BPM.com Report”). See Dkt. 55 at ¶ 18; Dkt. 335 at ¶18. See also Ex. 6.

        13.    Appian commissioned the BPM.com Report, but the BPM.com Report does not

disclose that fact. See Ex. 11 (Excerpts of Deposition Transcript of Nathaniel Palmer, December

6, 2021) at 65:25-66:5; Ex. 6. Appian paid BPM.com




        14.    A “commissioned” report is one “that’s generated as marketing collateral for the

company … by whom it’s commissioned,” according to Palmer. See Ex. 11 at 66:11-21.

        15.    The BPM.com Report does not inform readers that it is Appian marketing

collateral. Rather, it describes itself as a “market report” based on “research” intended to

“understand how automation software is being used to improve and automate mission-critical

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processes, and how these results correlate to economic advantages and overall investment size.”

Ex. 6 at cover, 2. It describes its “methodology” and reports its “research findings,” often as

“averages” presented in tables comparing Appian, IBM, and Pega. Id. at 2, 6-10.

        16.



                      .

        A.     The Content of the BPM.Com Report

        17.    The BPM.com Report describes its “Methodology” as follows: “The research

began with an online survey consisting of approximately 50 questions related to the participant’s

current practice with the software in question. From the survey we received approximately 500

responses. We then evaluated and validated each response. We eliminated any non-compliant

entries, such as those from organizations deemed too small or from firms engaged in the sale,

development, or specific services involved in this type of software. Then our team conducted

follow up interviews with selected respondents to further validate and expand upon their answers.

All responses included in this research represent verified end user organizations that are

currently using process automation software and have documented project results. Through the

validation process, our survey yielded a net total of 104 verified projects.” Ex. 6 at 2 (emphasis in

original).

        18.    After describing its methodology, the BPM.com Report breaks down its alleged

“research findings” into four areas: (i) Total Cost of Ownership: (ii) Project Team Breakdown and

Total FTEs, (iii) Time to Market/Speed of Application Delivery, (iv) Enterprise Platform vs.

Departmental Silos. The Report characterizes topics (ii)-(iv) as “factors that contribute to overall



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TCO.” Id. In each area, BPM.com’s “research” allegedly showed that Appian is the superior

choice—often by a significant margin. Id. at 6-9.

       19.     The BPM.com Report describes its section on Total Cost of Ownership (“TCO”)

as addressing “Differences in investment required between leading platforms, including combined

sums of license, implementation, personnel, and maintenance costs.” Id. 2. It states: “We noticed

a stark contrast for TCO between vendors (see Table 1). Organizations that run on Pega have

spent the most—approximately 2.5 times more than the average, at $46 million…. Appian

customers have reported the lowest total upfront costs on average, at $4 million.” Id. at 6.

       20.     Table 1 reinforces the message that organizations that run on Pega spend, on

average, ten times more on TCO than organizations that run on Appian. Id. at 6.




       21.     In a section labeled “Conclusions and Key Finding,” the BPM.com Report claims

“Pega customers reported spending on average 11 times more than Appian customers, and nearly

twice that of IBM customers.” Id. at 10.

       22.     The BPM.com Report defines “Project Team Breakdown and Total FTEs,” the

second area of its “research findings,” as “Team resources across various development roles

required to deliver the projects cited by respondents.” Id. at 2. The Report states, “One of the

leading components of TCO, as well as an area of measurable differentiation between vendors is

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the associated team size required to deliver comparable capabilities.” Id. at 7. It goes on: “Overall,

firms running on Appian required far fewer total FTEs than competitors—less than a third of staff

reported for the overall average, and just over one fifth the required FTEs cited by IBM and Pega

customers.” Id.

       23.     Table 3 (id.) reinforces the message that the average Pega development team is five

times the size of the average Appian development team:




       24.     The BPM.com Report underscores the connection between development team size

and TCO, and claims Pega’s large development teams led to higher TCO for Pega customers:

“Since personnel cost was the largest factor in overall TCO (see Table 1) it is logical that customers

having the highest TCO also employ greater numbers of resources and require larger project team

sizes. For example, Pega customers cited both the highest TCO in the study, as well consistently

requiring more FTEs than other vendors or the overall market.” Id.

       25.     The BPM.Com Report defines “Time to Market / Speed of Application Delivery,”

the third area of its “research findings,” as “The reported timeframes involved for key development

activities required to deliver the projects cited.” Id. at 2. The BPM.com Report states this is an

“important metric for measuring both overall value and ownership cost” and that “[r]espondents

cited an average of about 50 weeks for core development activity.” Id. at 8. According to the
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Report, “Appian customers report on average 3 times faster application delivery compared to the

overall market, and notably 3-5 times faster than what IBM or Pega customers have reported.” Id.

       26.     Table 4 (id.) reinforces the message that Pega takes, on average, five times longer

to develop applications than Appian.




       27.     The BPM.com Report defines “Enterprise Platform vs. Departmental Silos,” the

fourth area of its “research findings,” as “The scope of projects cited by respondents, and the

contrast between leading vendors relative to departmental and enterprise wide initiatives.” Id. at 2.

The BPM.com Report notes, “Respondents running on either Appian, IBM, or Pega all had

multiple use cases for their platform. Even so, through our analysis of the responses as well as

through follow-up interviews, we found notable areas of contrast.” Id. at 9. The greatest contrast,

according to the Report, was that “Appian’s customers are far more widely to use the platform to

develop apps that are used across the enterprise.” Id.

       28.     Table 5 (id.) reinforces this message:




                                                 8
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       B.     Creation of the BPM.com Report

       29.    Discovery in this case has revealed the process that led to the BPM.com Report’s

“research findings.” Defendants’ internal documents speak for themselves.

              1.      THE PLANNING STAGE

       30.    Appian had a prior relationship with Mr. Palmer, who was an employee of Serco,

an Appian partner and customer. Mr. Palmer is listed as the contact person for Serco on Appian’s

website. See Ex. 11 at 8:8-16, 75:18-19; Dkt. 55.5.

       31.




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                2.     APPIAN’S INFLUENCE OVER THE SURVEY

          49.   The BPM.com Report was based on the results of a survey administered by

BPM.com. Ex. 6 at 2.

          50.   The survey covered topics including the respondents’ companies (e.g., industry

segment, number of employees), the nature of the BPM projects at their companies, satisfaction

with BPM vendors, amount of time and money spent on various aspects of development using

BPM software, number of employees responsible for various aspects of the BPM software, and

various measures of the return on investment (ROI) related to the BPM software. See, generally,

Ex. 18.

          51.




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                                                               None of the other vendors

referenced in the BPM.com Report were allowed to select which of their customers should be

targeted. Ex. 11 at 157:18-20.

       52.




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       61.

               3.     APPIAN’S INFLUENCE OVER THE SUBSTANCE OF THE WHITE
                      PAPER

       62.




       63.     During the drafting and revision of the BPM.com Report, Appian requested

BPM.com focus the Report on the subject of TCO,

                                   Ex. 11 at 139:14-22, 140:20-25, 206:9-12 (“There were pages

that I had put in the draft that ultimately they had suggested removing, which were not specific to

TCO, but matters such as the net promoter score.”),

       64.




       C.      The False and Misleading Statements in the BPM.com Report

       65.     The BPM.com Report represents that its “research findings” are based on 104

survey responses. Ex. 6 at 2, 5.




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       68.     The BPM.com Report does not disclose the actual number of survey responses

considered in each Table, leaving readers to assume it is 104. See generally Ex. 6.

       69.     The BPM.com Report represents that claims about Pega in its “research findings”

are based on at least ten survey responses—10% of 104. See, e.g., Ex. 6 at 5 (Vendor Adoption

graphic).




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       72.     The BPM.com Report’s claim that the average TCO for Pega owners is about $46

million (see Ex. 6 at 6 (Table 1)) is based on




       73.




       74.     The BPM.com Report’s claim that the average Pega development team consists of

44 Full-Time Equivalents (see Ex. 6 at 7 (Table 3))




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       80.        The BPM.com Report asserts that 66.6% of Pega customers’ projects are “not

enterprise,” but it does not disclose



       81.        In addition, the BPM.com Report contained a number of additional false

statements, including:

         Representation in BPM.com Report             The Undisputed Facts
         “The purpose of this research is to
         understand how automation software is
         being used to improve and automate
         mission-critical processes, and how these
         results correlate to economic advantages
         and overall investment size.” Ex. 6 at 2.                     .
         “We eliminated any non-compliant entries,
         such as those from organizations deemed
         too small or from firms engaged in the sale,
         development, or specific services involved                  Appian’s include Serco, its
         with this type of software.” Ex. 6 at 2.     partner and Palmer’s employer. See Ex.
                                                      28; Ex. 11 at 8:8-16, 75:18-19; Dkt. 55.5.


       23
            See Ex. 28 at Column AD.
                                               22
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 “Then our team conducted follow up
 interviews with selected respondents to
 further validate and expand upon their
 answers.” Ex. 6 at 2.
 “All responses included in this research Verified responses meant “we had gone
 represent verified end user organizations through and they passed the smell test.”
 that are currently using process automation Ex. 11 at 156:12-15.
 software and have documented project
 results.” Ex. 6 at 2.




 “We place special focus on [Appian, Pega,
 and IBM] in particular because of their
 larger market presence and high ranking in
 other market assessments conducted by
 technology analyst firms such as Gartner
 and Forrester.      Further, all of the
 respondents who use Appian and Pega are
 from firms with greater than 5,000
 employees (or greater than 1,000 for IMB).
 For these reasons, we performed breakout
 analysis on the projects from these three
 vendors.” Ex. 6 at 5.



D.     Defendants’ Promotion and Use of the BPM.com Report

82.




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       84.     The BPM.com Paper was hosted on both Appian and BPM.com’s website. Dkts.

55-2, 55-3, 55-4; see also Ex. 31. Although it was gated on Appian’s website, meaning a user had

to enter personal information in order to access it, it was ungated on BPM.com’s website. Dkts.

55-2 and 55-4. Nowhere on either website was it disclosed that Appian had any involvement in

the BPM.com Report.



                                                                                           There is

no evidence reflecting the number or identity of individuals or entities that accessed the Report on

BPM.com.

       85.



       86.     Appian promoted the BPM.com Report and the claims made within it through

multiple marketing channels in the United States and abroad,



                                                                                         (c) having

BPM.com host the Report on its website (Dkt. 55-4; Ex. 35 at APPN00006685), (d) posting claims

from the BPM.com Report and a link to the report on two Pega-focused webpages on the Appian

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website (Ex. 30; Dkts. 55-2 and 55-3), (e)




       87.     In several of these channels, Appian specifically called out the alleged findings

from the BPM.com Report and repeated that they were based on 500 responses. For example, on

its website, Appian claimed that “[t]hrough approximately 500 responses, BPM.com found that on

average: [i] Appian customers build complete enterprise solutions 5 times faster[;] [ii] Appian

customers use 79% fewer resources[;] [and] [iii] Appian has more than 2x customers who’ve

reached ROI in 2 years.” Dkt. 55-2.

       88.     The BPM.com Report was also reported on and further distributed.



     This further extended the reach of the BPM.com Report.

       E.      Harm to Pega

       89.     Total Cost of Ownership is an important consideration for purchasers of BPM

products.

       90.




       91.



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       98.     The claims in the BPM.com Report are difficult to rebut because there are no other

publicly available sources that would provide similar analyses that a reader could compare these

results with. Ex. 11 at 145:4-8.

       99.




                         III.      THE SCALABILITY DOCUMENTS

       100.    Appian has brought false advertising and commercial disparagement claims against

Pegasystems based on the following documents: (1) the Scalability White Paper (Ex. 53

(challenged statements highlighted in green)) and Scalability Slide Deck (Ex. 54); (2) the

Technical Competitive Brief (Ex. 55 (challenged statements highlighted in green)); (3) the Sinur

Paper (Ex. 56 (challenged statements highlighted in green)), (4) the Pega 7 vs. Appian Comparison

(Ex.57 (challenged statement highlighted in green)); (5) the Appian vs. Pega 7 BPM Comparison

Chart (Ex. 58); and (6) the Pega vs. Appian Technology Assessment (Ex. 59) (collectively, the

“Scalability Documents”).

       A.      The Scalability White Paper & Slide Deck

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101.




B.     The Technical Competitive Brief



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       108.   The Technical Competitive Brief




       114.   In the Virginia Litigation, Appian’s expert witness testified that the Technical

Competitive Brief contains Appian trade secrets. Ex. 98 at 2247:14-2252:22.

       115.




       C.     The Sinur Paper

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       116.   Pegasystems retained Jim Sinur to write a comparison of Pegasystems and Appian

in February 2014, subsequently titled “Appian and Pegasystems – Head to Head Comparison” (the

“Sinur Paper”). Ex. 56 (challenged statements highlighted in green).

       117.   The Sinur Paper is dated “February 24, 2014” on its title page. Ex. 56 at 1.

       118.   Pegasystems paid Mr. Sinur           to write the Sinur Paper. Ex. 65. The Sinur

Paper does not disclose it was commissioned by Pegasystems.

       119.




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120.




D.     Pega 7 vs. Appian Comparison

123.   The Pega 7 vs. Appian Comparison




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128.




              IV.    TIMELINESS OF APPIAN’S CLAIMS

A.     Appian’s Knowledge of the Sinur Paper

129.




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       B.     Appian’s Knowledge of the Scalability Documents

       140.   On October 11, 2013, Appian employee Elizabeth Epstein sent an email to one of

her colleagues, Robert Loren, with the subject line “Pega Anti-Appian presentation” asking for

“more details,” including “Screenshots” of what Pegasystems “showed” in a presentation



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Pegasystems made to Bank of America during a sales pitch. Ex. 75 (produced in the Virginia

Litigation).

       141.    Robert Loren—an account executive at Appian at the time—responded as follows:

“It was a complete hit job on us. A lot of stuff about Kx – check pointing, data sync issues,

scalability. Ambarish would know more, but whoever put it together knows our product and how

to exploit potential issues. I can ask Stephen if he can send [it to] me, but since nothing has come

of it, I am hesitant to make a big deal about it.” Ex. 75.

       142.    In response, Elizabeth Epstein wrote: “OK, if you want to avoid ruffling feathers

at BOA I understand…but if you think you can casually ask Stepehn [sic] for it, it would be VERY

useful for future reference, because this is not the last time they are going to give such a

presentation about us! It might also help me do a little detective work on where they are getting

such information.” Ex. 75.

       143.    Ms. Epstein later testified that it was “important to [her] to get a copy of the Pega

anti[-]Appian presentation” because “[p]er [her] role at Appian at the time as director of sales

strategy and innovation, it would have been relevant to [her] responsibilities to collect such a

document.” Ex. 76 (Excerpts of Deposition Transcript of Elizabeth Epstein in Virginia Litigation,

entered into the record of a public proceeding) at 40:18-41:07.




                           .



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      148.   In the Maxwell litigation, Pegasystems learned of a zip file belonging to

Pegasystems that Bruce Maxwell, a former Pegasystems employee who was then hired by Appian,

“had accessed after joining Appian.” Ex. 78 (Excerpts of Deposition Transcript of Richard



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Baldwin in Virginia Litigation) at BALDWIN00049-50. The name of this zip file was “Leon’s

briefcase.” Ex. 78 at BALDWIN00049.

       149.    The contents of the Leon’s briefcase zip file were produced to Appian “all at once”

in 2016. Ex. 78 at BALDWIN00053. “Many, if not all of” the documents in the Leon’s briefcase

zip folder “were also produced as part of a prior production” by Pegasystems to Appian in the

Maxwell litigation. Ex. 78 at BALDWIN00053; see also Ex. 78 at BALDWIN0054 (“Pegasystems

made a production that included some or all of these documents but not identified as the contents

of Leon’s briefcase. We later made a production of the documents identified as these are the

contents of Leon’s briefcase.”).

       150.    A list of all of the documents included in the Leon’s briefcase zip folder are attached

as Exhibit 79. Ex. 79 (Exhibit to Baldwin Deposition from Virginia Litigation listing contents of

Leon’s Briefcase). Among the documents listed in that list is the Technical Competitive Brief. Id.

       151.    Pegasystems voluntarily dismissed the Maxwell litigation in December 2018. At

no point between receiving the Technical Competitive Brief in 2016 and the dismissal of the

lawsuit in December 2018 did Appian attempt to assert any counterclaims predicated on the

Technical Competitive Brief.

       C.      Prejudice to Pegasystems

               1.     PREJUDICE DUE TO ECONOMIC PREJUDICE

       152.




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       153.




              2.      PREJUDICE DUE TO LOSS OF RECORDS

       154.   Due to Appian’s delay in asserting its counterclaims, Pegasystems no longer

possesses certain documents that may have been relevant to those claims.

       155.




       157.   Desmond Conte, the Pegasystems employee designated to testify as a Rule 30(b)(6)

witness with regards to Pegasystems’ document retention practices, testified that although

Pegasystems never received a “final number” with regards to the number of documents

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permanently lost during this transition, “[i]t was definitely in the thousands.” Ex. 82 (Excerpts of

Rule 30(b)(6) Deposition Transcript of Pegasystems (D. Conte), December 16, 2021) at 14:4-

15:14. Those “thousands” of lost documents included both “messages and attachments.” Id. at

14:17-18.

       158.




               3.      PREJUDICE DUE TO LOSS OF EMPLOYEES TO APPIAN

       160.




                                                                                  Pegasystems laid

off John Petronio in January 2015. Ex. 84 (Excerpts of Deposition Transcript of John Petronio

(December 13, 2021)) at 259:23-25.



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                                                              Mr. Petronio is now Senior Director,

Market Intelligence and Strategy at Appian.

       162.




       Michael Caton subsequently left the company and, since January 2018, has worked as

independent “content and market research consultant,” including for Appian, which Mr. Caton

characterized as his largest client in terms of both amount of work and revenue received. Id. at

161: 3-23.

               4.     PREJUDICE DUE TO THE FADING OF MEMORIES

       163.    Finally, multiple witnesses testified in this litigation that they could not remember

details relevant to Appian’s claims and Pegasystems’ defenses, due to the passage of time.

       164.    For instance, Malcolm Ross, while testifying in his individual capacity, repeatedly

testified that he could not remember certain details regarding the Sinur Paper, Appian’s response,

and other related events because they occurred years ago. E.g., Ex. 85 (Excerpts of Deposition

Transcript of Malcolm Ross (April 30, 2021) at 60:3-6 (“Q: Let’s say around 2012; how frequently

do you recall Appian briefing Mr. Sinur? A: I have no idea. It’s almost a decade ago.”); id. at

82:14-19 (



id. at 182:25 – 183:8 (“Q: How much had the Appian software changed between February 2012,

which you said was the last interaction with Mr. Sinur, and this period in the summer of 2013?

[Objection] A: Yeah, I mean, this was, you know, seven-plus years ago. We had regular releases.

I don’t know exactly, offhand, how the product changed in that time frame, specifically.”); id. at

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183:25 – 184:10 (“Q: Do you recall a blog post by HCL around the time of the Sinur paper? A:

No. I don’t recall, no. Q: Its title may have been ‘Appian versus Pega, the Fast Food Analogy.’

Does that refresh your recollection at all? A: Vaguely. You know, this is, again, six – over six

years ago. So I don’t recall it specifically.”).

        165.    Mr. Ross likewise testified that he could not remember relevant details during his

deposition as a Rule 30(b)(6) witness on behalf of Appian. See, e.g., Ex. 13 at 30:8-19




id. at 326:18-22 (“A: Well, this is a request on product capabilities that was approaching 10 years

old. So, no, I don’t know this granular level of product configuration off the top of my head on

decade-old product capabilities.”).

        166.    Jim Sinur, the author of the Sinur Paper that is at the heart of Appian’s

counterclaims, also testified that he could not remember certain details due to the passage of time.

See, e.g., Ex. 83 at 88:7-11 (“Q: … Do you recall interacting with anyone else at Pegasystems

regarding this … A: No, I don’t recall. That was a long time ago.”); id. at 93:17-25 (“Q: Is this

one of the blog posts that Pegasystems paid you to publish? A: I believe so. Q: Why do you think

that? A: Because I – that’s what I remember. I think I’m remembering that this is one of them.

Q: Okay. A: This is – this is seven years old, so – going on eight.”); id. at 111:15-17 (“Q: You

forgot about this one? A: Yeah, I – I forgot about it, yes. It’s seven years ago, man.”); id. at 115:8-

15 (“Q: I’m going to give you one moment to just think if there is any other payments that

Pegasystems made to you during this time. A: I – you can’t force a memory out of somebody that

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doesn’t have it. Q: Yes, I’m not trying to force you, just trying to give you a minute to think back.

A: I’m not remembering. Seven years ago.”).

       167.    Christopher Thorpe, a former employee at Bank of America



                                                          also testified that he could not remember

certain details due to the passage of time. See id. at 13:14-19 (“Q: You don’t recognize [at-issue

project] Deceased Consumer Notification? A: It is not familiar to me because this was a long

time ago, so I do not remember all the Pega projects that were at Bank of America at the time.”);

id. at 34:12-19 (“Q: But do you recall any of the software engineers or people that built this product

that you met with from Pegasystems? [Objection] A: It’s a long time ago…”); id. at 152:24-153:4




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                 V.      TRUTH OF THE CHALLENGED STATEMENTS

       169.    In the Virginia Litigation, an expert witness for Appian has identified certain facts

that Appian alleges are its trade secrets. Some overlap with the Challenged Statements in this case.

See discussion in following sections of trade secrets presented at trial; see also Ex. 144 (Appian’s

Response to Interrogatory No. 1 from Youyoung Zou in Virginia Litigation), identifying the

following as some of the allegedly misappropriated trade secrets:

                      “Scalability: how the platform performs with an increased number of users

                       or processes; the ability of Appian or Appian apps to be deployed across

                       servers and interact with existing servers in a customer’s topology;” (see

                       Sections A and I below);

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             “Details and limitations on integrations with third-party software and

              databases;” (see Sections G and K below);

             “Details and limitations on Appian’s use of web services and workarounds

              for the same;” (see Section K below);

             “The number of developers who could simultaneously work on developing

              processes for use in Appian apps;” (see Section L below); and

             “limitations on the number of rows that could be loaded or based on memory

              consumed by the database;” (see Section J below).

A.     Scalability Generally

170.




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       174.    Scalability is not a binary concept—i.e., can scale or cannot scale. Rather, some

software can scale better and further than others.




       176.    There is no universally applicable definition for the terms “little,” “almost no,”

“large scale,” “transformational,” “deep business change,” and “significant mass”—alone or as

used in conjunction—such that readers would all be in agreement as to their meaning and what

evidence, implementations, or level of professional support would qualify.



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         177.   There is no evidence in the record to show that a customer would take any specific

factual meaning from these Challenged Statements.

         178.   Appian omits the conclusion of the final challenged sentence: “…with only 600

consultants.” See Ex. 56 at 3. Appian has not challenged that number as false or misleading.




         183.   The only customer to testify in this case determined that Appian would have

difficulty scaling to meet his company’s needs based on direct discussions with Appian’s

engineers—not because of anything he heard from Pegasystems or Mr. Sinur. Ex. 86 at 249:9-

251:8.



         184.   Appian challenges the following statement from the Sinur Paper:




                                                     .

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       186.    “Many” means a large, but indefinite, number. Ex. 93.

       187.    “Many” is a fair characterization of 50%.

       188.    At the time, one of the things that distinguished Appian from its competitors was

that it was “one of the early movers to a cloud architecture,” which it promoted to its customers.

Ex. 85 at 134:4-13; see also Ex. 56 at 1 (calling Appian “the king” of cloud).

       189.    There is no evidence in the record to show that a customer would take any meaning

from the word “many” that 50% would not satisfy.



       190.    Appian challenges the following statement from the Sinur Paper:




                                                47
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       194.     In early 2014, Appian listed a selection of customers on its website, grouped by

“Industry.” That list featured 24 customers Appian classified as “Government.” The industry with

the next highest total was Financial at 15. Ex. 95; Ex. 85 at 143:18-144:7.

       195.     The only customer to testify in this case stated that he knew this Challenged

Statement “to be accurate. I got the sense from talking to them [Appian] directly that the bulk of

the way they’ve been making money at the time, and they had some great relationships with some

government contracts, so I actually know that to be true.” Ex. 86 at 207:13-18. He also testified

that he understood “primarily” to refer to “the majority” (id. at 207:25-208:8) or “a plurality” (id.

at 246:5-15).

       196.     There is no evidence in the record to show that a customer would understand the

word “primarily” to indicate something more than a plurality and a third of its revenue.



       197.     Appian challenges the following statements from the Sinur Paper:

                a.




       200.                                           an Appian VP who was later its corporate

designee testified that “I wouldn’t know what it meant” without “the context of the rest of the

paper of what the author intended that word to mean.” Ex. 85 at 147:3-13

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       201.




       204.   There is no evidence in the record to show that a customer would take any specific

factual meaning from these Challenged Statements.

       E.

       205.   Appian challenges the following statements in the Scalability Documents:

              a.




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       210.   There is no evidence in the record regarding the parties’ respective total costs of

ownership during the relevant time.

       F.

       211.   Appian challenges the following statement from the Scalability White Paper:

              a.




       213.   Lacks can mean “has none” or “has insufficient.” Ex. 97.

       214.



       215.   There is no evidence in the record to show that a customer would take from this

Challenged Statement the specific factual meaning that Appian did not have any such tools.

       G.

       216.   Appian challenges the following statement from the Scalability White Paper:

              a.




                                              50
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        217.




        219.    Appian’s expert witness in the Virginia Litigation identified as a trade secret that

“Appian’s software did not support star schema,” which was “a common protocol in the industry

in terms of how you report and send information.” Ex. 98 2224:8-22; see also Ex. 13 at 438:1-18

(star schema is a way of organizing data that is used by third-party reporting (or “business

intelligence”) tools).

        220.    “Support” is an ambiguous term.

        221.    There is no evidence in the record to show that a customer would take from this

Challenged Statement the specific factual meaning that



        H.

        222.    Appian challenges the following statement from the Scalability White Paper:

                a.




        223.    JavaScript is a “coding” or “programming” language.

        224.



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       230.    A developer who used Appian software stated in 2014 that “20 to 30% of the total

effort, is for Java and javascript” and noted contexts where, in his experience, that was the case.

Ex. 103 at ZOU-002100.



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       233.    Appian challenges the following statements from the Scalability Documents:

               a.




       234.    The Sinur Paper statement (Ex. 56) uses the ambiguous term “scale” and does not

identify what, in relation to multiple servers, Mr. Sinur deemed “necessary for” scale.

       235.




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       236.   There is no evidence in the record to show that a customer would take from these

Challenged Statements the specific factual meaning that A



       J.

       237.   Appian challenges the following statements from the Pega Documents:

              a.




       238.   Appian has presented no evidence to prove that



       239.




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       240.   A developer experienced in Appian software, when asked to evaluate the claim

“Large reports kill performance [] Reports that return large result sets (greater than 1000 rows)

significantly degrade performance.” responded simply “Yes.” Ex. 106 at ZOU-000439.

       241.




       K.

       242.   Appian challenges the following statements from the Pega Documents:

              a.




       243.   “Limited” in the Technical Competitive Brief is a subjective term.



                                               55
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       244.    “Including” in the Technical Completive Brief indicates that what is set forth is not

an exhaustive list.

       245.    Appian’s expert witness in the Virginia Litigation identified as a trade secret—i.e.,

something that is true—a limitation on Appian’s integration capabilities, namely with respect to

its web services functionalities. Ex. 98 at 2233:10-2238:17.

       246.    Appian’s expert witness specifically identified the paragraph featuring the

Challenged Statement in the Technical Competitive Brief as expressing this trade secret. Id. at

2247:7-21; 2252:10-22.

       L.

       247.    Appian challenges the following statements from the Pega Documents:

               a.




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       248.




       250.    Appian’s expert witness in the Virginia Litigation identified the following as an

Appian trade secret—i.e., something that is true: “If you have a process that has multiple objects

in the development environment and a developer is working in one of those objects, the entire

process, all of those objects are locked, and no one else would be able to access any of those other

objects.” Ex. 98 at 2221:8-2222:3.

       251.    Appian’s expert witness in the Virginia Litigation explained that the foregoing was

a “limitation of Appian’s software,” that “concealing” the limitation from Appian’s customer “had

economic value” to Appian, and that Pega, knowing the limitation, “could overly emphasize it and

utilize that as a strategic way to… win customers away from Appian.” Id. at 2407:10-2409:4.

       252.    Appian’s expert witness specifically identified the Challenged Statement from the

Technical Competitive Brief as expressing this trade secret. Id. at 2247:7-21; 2251:2-2252:5.

                 VI.     CUSTOMERS APPIAN CLAIMS TO HAVE LOST




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       271.   Appian’s damages expert in the Virginia Litigation used this same Rabobank

opportunity as an example of the damages theory in that case. Ex. 98 (Virginia Litigation Trial

Transcript, Malackowski Testimony) at 3485:5-3487:5.




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       279.    Former Bank of America employee Chris Thorpe, who

                                                                 testified that his decision-making

process “was around economics and the pricing and the large, installed base,” and that “these

marketing reports that are published all the time by various manufacturers have very little bearing

on how people make decisions, or at least how I make decisions at Bank of America.” Id. at 27:18-

28:10. Indeed, Mr. Thorpe testified that would treat with a “high degree of suspicion” an

evaluation document where one vendor is claiming to be superior to the other. Id. at 202:20-203:9.




       281.    Asked whether he was aware of technical limitations on Appian’s ability to scale,

Mr. Thorpe responded, “Only the one that I found out myself through direct questions of their

engineers.” Id. at 163:24-164:4.




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     VII.     APPIAN’S DEFAMATION CLAIM BASED ON THE LINKEDIN POST




                                                                                        .

       329.    The LinkedIn Post in question appeared as follows:




       330.    As the above reflects, Mr. Libretto’s LinkedIn Post stated: “We all encounter

examples of business ethics we find questionable … patent trolls, paid content promoted as

‘unbiased truth,’ and sometimes just blatant lies. I’m proud to work for a company that is not

afraid to undertake the unpleasant action of litigating against those whose actions we believe are

unlawful and unethical. If you’re thinking about Appian, you should read this first:”

       331.    Mr. Libretto’s LinkedIn Post then linked to an article published by Adam Gaffan

on the website universal.com entitled “Cambridge tech company can continue lawsuit over

negative research report that didn’t mention a competitor paid for it, judge rules.” The full



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article is available at the following URL: https://www.universalhub.com/2019/cambridge-tech-

company-can-continue-lawsuit-over. See Ex. 136

       332.    There is no evidence showing that Mr. Libretto acted with actual malice when

making the LinkedIn Post.

       333.    There is no evidence showing that any other Pegasystems employee acted with

actual malice in sharing Mr. Libretto’s LinkedIn Post.



 Dated: April 15, 2022                         Respectfully submitted,

                                               PEGASYSTEMS INC.

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                                                      /s/ Neil Austin




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